Case 2:04-cr-20005-SH|\/| Document 60 Filed 08/22/05 Page 1 of 2 Page|D 75

 

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m HDMASMGOTULD
UNITED sTATES oF AMERICA, ) wl C’~`; iii ‘-"`EF"?PYH
Plaintiff, §
vs. § cR. No. 04-20005-Ma
GEROME MILEY, §
Defendant. §

 

ORDER ON CONTIN'UANCE AND SPECIF'YING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning 0ctober 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from July 22, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of Au:;;;, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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with R\l|e 55 and!or 32lb) FRCrP on ' '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:04-CR-20005 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

